                              UNITED STATES DISTRICT COURT

                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA

                                    CHARLOTTE DIVISION


UNITED STATES OF AMERICA

      V.                                           CASE NUMBER: 3:19cr19-01-FDW


MARCUS DAMAR MASSEY

       THIS MATTER is before the Court on Fourth Circuit Court of Appeals Order of remand, filed

11/16/20, for resentencing.

       NOW, THEREFORE, IT IS ORDERED that:

       The Bureau of Prisons and the United States Marshals service is hereby ORDERED to

       transport and produce the body of MARCUS DAMAR MASSEY. (USM# 34754-058), for

       resentencing before the honorable Frank D. Whitney, in the Western District of North

      Carolina, Charlotte, North Carolina not later than April 1, 2022, and upon completion

       of the resentencing hearing, Defendant is to be returned to the custody of the Bureau

      of Prisons.

      The Clerk is directed to certify copies of this Order to the United States Attorney, Defendant’s

      Counsel, the United States Marshal Service, and the United States Probation Office.

      IT IS SO ORDERED.
                                  Signed: February 4, 2022




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